Case 2:22-cv-00178-SSS-SP Document 22 Filed 04/06/23 Page 1 of 2 Page ID #:2657




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    8                    UNITED STATES DISTRICT COURT
    9             FOR THE CENTRAL DISTRICT OF CALIFORNIA
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   11                                        Case No. 2:22-cv-00178-SSS-SP
        JANELLE BLEDSOE,
   12                          Plaintiff,    ORDER ACCEPTING FINDINGS
   13                                        AND RECOMMENDATION OF
                                             UNITED STATES MAGISTRATE
   14                    v.                  JUDGE
   15
   16   KILOLO KIJAKAZI, Acting
   17   Commissioner of Social Security
        Administration,
   18                           Defendant.
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Case 2:22-cv-00178-SSS-SP Document 22 Filed 04/06/23 Page 2 of 2 Page ID #:2658




   1          Pursuant to 28 U.S.C. § 636, the Court has reviewed the Complaint,
   2    records on file, and the Report and Recommendation of the United States
   3    Magistrate Judge. Plaintiff has not filed any written Objections to the Report
   4    within the time permitted. The Court ACCEPTS the findings and
   5    recommendation of the Magistrate Judge.
   6          The Court notes, however, that the ALJ could not permissibly have found
   7    the opinions of the treating chiropractor less persuasive based on the fact that
   8    the doctor was a non-acceptable medical source. See 20 C.F.R. §§ 404.1520c,
   9    416.920c (“We will articulate in our determination or decision how persuasive
  10    we find all of the medical opinions and all of the prior administrative medical
  11    findings in your case record.”). Rather, the ALJ properly found the
  12    chiropractor’s opinions less persuasive based on the relevant factors, as required
  13    under the applicable regulations. See 20 C.F.R. §§ 404.1520c(a)-(c),
  14    416.920c(a)-(c). Ultimately, the ALJ’s consideration of the persuasiveness of
  15    the medical opinion evidence was supported by substantial evidence for the
  16    same reasons that the ALJ’s determination of the onset date was supported by
  17    substantial evidence, as articulated in the Report and Recommendation.
  18          IT IS THEREFORE ORDERED that Judgment be entered
  19    AFFIRMING the decision of the Commissioner denying benefits, and
  20    DISMISSING this action WITH PREJUDICE.
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  22    Date: April 6, 2023
  23                                           _______________________________
  24                                           SUNSHINE S. SYKES
                                               UNITED STATES DISTRICT JUDGE
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